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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


ING BANK N.V.                                                 CIVIL ACTION

VERSUS                                                        NO. 15-5975
                                                              c/w 15-6060

BULK FINLAND M/V,                                             SECTION: “B”
NO. 9691577

                            ORDER AND REASONS

     Before the Court are Plaintiff ING Bank N.V.’s (“ING Bank”)

Motion   for   Summary   Judgment   (Rec.   Doc.   29),   Defendant   DryLog

Bulkcarriers Limited’s (“DryLog”) Motion for Summary Judgment (Rec.

Doc. 30), Consol Plaintiff Bomin Bunker Oil Corp.’s (“Bomin Bunker”)

Response in Opposition (Rec. Doc. 33), Bomin Bunker’s Response in

Opposition (Rec. Doc. 42), ING Bank’s Reply (Rec. Doc. 45), ING

Bank’s and DryLog’s Joint Supplemental Memorandum in Support of

Renewed Motions for Summary Judgment (Rec. Doc. 56), Bomin Bunker’s

Supplemental Memorandum in Response in Opposition(Rec. Doc. 57). For

the reasons discussed below,

     IT IS ORDERED that the motions for summary judgment (Rec. Doc.

Nos. 29, 30) are GRANTED.

     IT IS FURTHER ORDERED that the motion to lift stay (Rec. Doc.

50) is DISMISSED.

FACTS AND PROCEDURAL HISTORY

     This consolidated matter is made up of two cases. The parties

are ING Bank as lead case plaintiff; Bomin as member case plaintiff;


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and DryLog as long-term charterer of and claimant for defendant in

rem, BULK FINLAND M/V.

     On October 16, 2014, BULK FINLAND was supplied with marine

fuel/bunkers in Balboa, Panama. See Rec.Doc. 56 at 2. Two weeks

before the fuel was actually delivered to the vessel, three separate

confirmations/contracts     were   issued.    See   id.   Specifcally,     the

contractual relationships leading up to the fueling of the vessel

were as follow: Tatsuo Consulting Limited (“Tatsuo”), who seems to

possibly be the charterer of the vessel, ordered the fuel bunkers

from OW Malta; OW Malta then ordered the fuel it agreed to supply to

the vessel from O.W. Bunker USA, Inc. (“OW USA”); OW USA then ordered

the fuel that OW Malta agreed to supply to the vessel from Bomin.

See id.; see also Rec. Doc. 29-1 at 5-11. After Bomin physically

delivered the fuel to the vessel, Bomin issued its invoice to OW

USA; OW USA issued its invoice to OW Malta; and, OW Malta issued its

invoice to Tatsuo. See Rec.Doc. 56 at 3. Each of the contracts, while

separate, were all due on November 14, 2014. See id. Tatsuo has not

paid OW Malta or ING Bank. See id. OW Malta and OW USA filed for

bankruptcy before the due date of the invoices. See id.

     On November 17, 2018, ING Bank filed a verified complaint

against BULK FINLAND in rem praying for the Rule C arrest of the

vessel. See Rec. Doc. 29-1 at 4. On November 18, 2015, Bomin filed

a verified complaint against BULK FINLAND asserting a maritime lien

claim and maritime breach of contract claim. See id. On November 23,


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2015, this Court consolidated the ING Bank Action with the Bomin

Action. See Rec. Doc. 8. On January 08, 2016, DryLog filed separate

answers to the verified complaints of ING Bank and Bomin. See Rec.

Doc. Nos. 17, 18.

       On April 24, 2017, ING Bank filed a motion for summary judgment.

See Rec. Doc. 29. On April 28, 2019, DryLog filed a motion for

summary judgment. See Rec. Doc. 30. On May 2, 2017, Bomin filed a

response to ING Bank. See Rec. Doc. 33. On June 2, 2017, Bomin filed

a response to DryLog. See Rec. Doc. 42. On June 19, 2017, ING Bank

replied. See Rec. Doc. 45. Near the end of June 2017, this matter

was stayed. See Rec. Doc. Nos. 46, 47.

       Recently, on March 8, 2019, the Court renewed ING Bank’s Motion

for Summary Judgment and DryLog’s Motion for Summary Judgment. See

Rec.   Doc.   55.   ING   Bank   and   DryLog   filed   a   joint   supplemental

memorandum in support of their renewed motions for summary judgment

to dismiss the verified complaint of Bomin. See Rec. Doc. 56. Bomin

filed a supplemental brief supporting its original response to the

motions for summary judgment. See Rec. Doc. 57. ING Bank and Dry Log

filed a joint reply memorandum. See Rec. Doc. 62. 1


1 While the parties filed a joint memorandum in support, it is important to note
that DryLog originally filed its own motion for summary judgment. See Rec. Doc.
30-1. In its motion, it adopted the arguments contained in ING Bank’s motion,
except for the statements and allegations that conflict with DryLog’s defenses
and answers to ING Bank and Bomin’s Verified Complaints. See id. at 1-3. For
example, DryLog does not adopt ING Bank’s contention, in various places, that:
(1) Tatsuo was the charterer of the M/V BULK FINLAND when Tatsuo allegedly ordered
the subject bunkers from OW Malta, the implication being that Tatsuo’s alleged
relationship with OW Malta (and/or some other OW entity through which ING claims
to be an assignee) may be presumed to giving rise to a maritime lien over the M/V
BULK FINLAND within the meaning of 46 U.S.C. § 31341; and (2) the M/V BULK FINLAND
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LAW AND ANALYSIS

     A. Summary Judgment Standard

     Under Federal Rule of Civil Procedure 56, summary judgment is

appropriate     when     “the    pleadings,     depositions,        answers    to

interrogatories,       and    admissions   on   file,   together      with    the

affidavits, if any, show that there is no genuine issue as to any

material fact and that the moving party is entitled to judgment as

a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)

(quoting Fed. R. Civ. P. 56(c)). See also TIG Ins. Co. v. Sedgwick

James of Wash., 276 F.3d 754, 759 (5th Cir. 2002). A genuine issue

of material fact exists if the evidence would allow a reasonable

jury to return a verdict for the nonmoving party. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). The court should view all

facts and evidence in the light most favorable to the non-moving

party. United Fire & Cas. Co. v. Hixson Bros. Inc., 453 F.3d 283,

285 (5th Cir. 2006). Mere conclusory allegations are insufficient to

defeat summary judgment. Eason v. Thaler, 73 F.3d 1322, 1325 (5th

Cir. 1996).

     The    movant     must   point   to   “portions    of   ‘the    pleadings,

depositions, answers to interrogatories, and admissions on file,

together with the affidavits, if any,’ which it believes demonstrate

the absence of a genuine issue of material fact.” Celotex, 477 U.S.



and/or DryLog are bound and obligated jointly and severally to the OW entities’
sales order confirmation and/or to their terms and conditions posted online. See
id. at 1-2.
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at 323. If and when the movant carries this burden, the non-movant

must then go beyond the pleadings and present other evidence to

establish a genuine issue. Matsushita Elec. Indus. Co., Ltd. v.

Zenith Radio Corp., 475 U.S. 574, 586 (1986). However, “where the

non-movant bears the burden of proof at trial, the movant may merely

point to an absence of evidence, thus shifting to the non-movant the

burden of demonstrating by competent summary judgment proof that

there is an issue of material fact warranting trial.” Lindsey v.

Sears Roebuck & Co., 16 F.3d 616, 618 (5th Cir. 1994). “This court

will not assume in the absence of any proof that the nonmoving party

could or would prove the necessary facts, and will grant summary

judgment in any case where critical evidence is so weak or tenuous

on an essential fact that it could not support a judgment in favor

of the [non-movant].” McCarty v. Hillstone Rest. Grp., 864 F.3d 354,

357 (5th Cir. 2017).

      B. Bomin Does Not Have a Maritime Lien Against BULK FINLAND 2

      The purpose of a maritime lien is to enable a vessel to obtain

necessaries to continue operation by giving a temporary underlying

pledge of the vessel which will hold until payment can be made. See

Lake Charles Stevedores, Inc. v. Professor Vladimir Popov MV, 199

F.3d 220, 223 (5th Cir. 1999) citing to A.L. Veverica v. Drill Barge


2 Bomin initially sought denial because there were relevant cases on appeal in the

Fifth, Second, and Ninth Circuits. However, those cases have been decided. See
NuStar Energy Services, Inc. v. M/V COSCO Auckland, 2019 WL 192408, at *1 (5th
Cir. 2019); Valero Mktg. & Supply Co. v. M/V Almi Sun, 893 F.3d 290 (5th Cir.
2018); ING Bank N.V. v. M/V Temara, 892 F.3d 511 (2nd Cir. 2018); Bunker Holdings
Ltd. v. Yang Ming Liberia Corp., 906 F.3d 843 (9th Cir. 2018).
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Buccaneer No. 7, 488 F.2d 880, 883 (5th Cir. 1974) (“The very purpose

of maritime liens is to encourage necessary services to ships whose

owners   are   unable   to   make   contemporaneous   payment.”).   In     most

instances, maritime liens are created statutorily. See Lake Charles

Stevedores, Inc., 199 F.3d at 224 citing to In re Admiralty Lines,

Ltd., 280 F. Supp. 601, 604-05 (E.D. La. 1968)(“Admiralty law has

long ago ceased to create new liens. The only liens recognized today

are those created by statute and those historically recognized in

maritime law.”). To resolve the lien issue in the instant motion,

the court must look to the CIMLA , 46 U.S.C. 31342. See Valero Mktg.

& Supply Co. v. M/V Almi Sun, 893 F.3d 290, 292 (5th Cir. 2018);

Lake Charles Stevedores, Inc., 199 F.3d at 224.

     Specifcally, the CIMLA, 46 U.S.C. 31342(a)(1), defines the

circumstance under which a party is entitled to a maritime lien.

This Circuit applies the provisions of the CIMLA strictly. See Valero

Mktg. & Supply Co., 893 F.3d at 292 (“We apply the provisions of

CIMLA stricti juris to ensure that maritime liens are not lightly

extended by construction, analogy, or interference.”). In relevant

part, the CIMLA states that a person providing necessaries to a

vessel on the order of the owner or a person authorized by the owner

has maritime lien on the vessel. See 46 U.S.C. § 31342(a)(1).

     It is undisputed here that the fuel bunkers are necessaries and

Bomin provided the fuel bunkers to BULK FINLAND. The issue here is




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whether Bomin furnished the necessaries to BULK FINLAND on the order

of the owner of the vessel or a person authorized by the owner.

        The persons presumed to have authority to procure necessaries

on the vessel’s account are the owner, the master, a person entrusted

with the management of the vessel at the port of supply, an officer

or agent appointed by the owner, a charterer, an owner pro hac vice,

or an agreed buyer in possession of the vessel. See 46 U.S.C. §

31341. “It is not unusual for an entity supplying necessaries to a

vessel to lack privity of contract with the owner of that vessel,

and instead contract with an intermediary.” Valero Mktg. & Supply

Co., 893 F.3d at 293.

        The facts concerning the chain of contractual relationships are

undisputed; the terms and conditions of each contract in the chain

are   undisputed;      the   dates   of   the   orders   and   confirmations   are

undisputed. Bomin, acting as a sub-subcontractor, took orders for

the fuel from OW USA. There is no material evidence that the owner

of BULK FINLAND selected or intended that Bomin act as a sub-

subcontractor and physically deliver the fuel to BULK FINLAND. These

undisputed facts show that Bomin furnished the fuel bunkers on the

order of OW USA, who is not a person statutorily presumed to have

authority to procure necessaries on BULK FINLAND’s account or an

agent of the same. See id. (stating that this Circuit recognizes two

lines     of   cases     that    deal     with    these    circumstances:      the

general/subcontractor line of cases and the principal/agent line of


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cases).    The undisputed facts show that Bomin did not furnish the

fuel bunkers to BULK FINLAND on the order of the owner of the vessel

or a person authorized by the owner and therefore Bomin does not

have a maritime lien against BULK FINLAND.

      Furthermore, the reasons that Bomin offers to summarily deny

the instant motions for summary judgment are unconvincing. 3 Bomin

argues that ING Bank lacks standing to file its Motion for Summary

Judgment (and the supplemental memoranda). See Rec. Doc. 33 at 1-2;

Rec. Doc. 57. ING Bank has standing because the advisory comments of

F.R.C.P. 56(a) makes it clear that summary judgment may be requested

as to an entire case, a lone claim or defense, or a part of a lone

claim or defense. Further, the actions have been consolidated and

are being considered as such here.

      Bomin does not contest DryLog’s standing to bring its motion

for   summary   judgment.    DryLog’s       Motion   for   Summary   Judgment   is

substantially the same as ING Bank’s motion as it adopts ING Bank’s

arguments and asks the Court to dismiss Bomin’s Verified Complaint.

      Bomin argues that the motions for summary judgment are premature

because “there is still significant and critical discovery to be

taken . . ..” Rec. Doc. 57 at 1. The only discovery that has occurred

is the parties’ exchange of initial disclosures. The Court is not

persuaded that discovery beyond clear and unambiguous contractual


3 Bomin argues that the Court should consider DryLog’s Motion to Amend Answers to
Allow Interpleader (Rec. Doc. 27) before considering the instant motions for
summary judgment. See Rec. Doc. 57 at 2; Rec. Doc. 43. The Court has not renewed
that motion. Even if it had, this Order would moot the motion to amend answers.
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terms and initial disclosures would reap fruitful evidence relevant

to the issue at hand. Bomin seeks discovery of facts that are, for

the most part, immaterial to instant motions and oppositions to same.

For example, Bomin lists “[w]hether Tatsuo had knowledge that Bomin

would physically supply the subject bunkers to the Vessel[.]”. Id.

at 8. This Circuit has held that “mere awareness does not constitute

authorization under the CIMLA.” See NuStar Energy Services, Inc. v.

M/V COSCO Auckland, 2019 WL 192408 *1, *2 (5th Cir. 2019) citing to

Valero Mktg. & Supply Co., 893 F.3d at 295.

     Bomin refers to three cases to support additional discovery:

Martin Energy Servs., LLC v. M/V Bourbon Petrel, 2018 U.S. Dist.

LEXIS 198285 (E.D. La. 2008)(Fallon, J.); Summary Order, Remand,

U.S. Court of Appeals, Second Circuit in 17-4028-CV NCL (Bahamas)

Ltd. v. O.W. Bunker USA, Inc., December 2018; and Canpotex Shipping

Services et al. v. Marine Petrobulk, et. al., Federal Court of

Canada, Dock: T-109-15, Citation: 2018 FC 957 (September 2008). See

Rec. Doc. 57 at 2-7. Of the three cases, only one is from this Court.

The Martin Energy Services, LLC case is distinguishable from the

instant facts and issues. Specifically, the Court held that an entity

authorized   to   bind   the   vessel   controlled   the   selection   of   the

physical supplier. See Martin Energy Servs., LLC v. M/V Bourbon

Petrel, 2018 U.S. Dist. LEXIS 198285 *1, *2 (E.D. La. 2008)([E]ach

time [physical supplier] fuel was supplied, O.W. Bunker presented

[authorized entity] with two bids — one from [the physical supplier]


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and one from Stone Oil, with the price quoted by each. In all three

instances, the authorized entity instructed O.W. Bunker to choose

the physical supplier’s lower bid).

      Furthermore, Bomin relies on two other cases in an attempt to

persuade the Court that certain contractual terms entitle it to a

maritime lien. See Rec. Doc. 57 at 4-6. The Court is not convinced

as maritime liens are created statutorily not by contract. See Lake

Charles Stevedores, Inc., 199 F.3d at 224; see also ING Bank N.V. v.

M/V   Temara,   892    F.3d   511    (2nd       Cir.   2018)   (rejecting      similar

argument). More importantly, the Court is not bound by those cases

due to Fifth Circuit authorities cited in this opinion.

      As   discussed   earlier      and    in    accordance     with     46   U.S.C.   §

31342(a),    binding    and   more    relevant         Fifth   Circuit    cases   have

substantially similar facts and issues here.                    See NuStar Energy

Services, Inc., 2019 WL 192408, at *1, *2; Valero Mktg. & Supply

Co., 893 F.3d at 292-5; Lake Charles Stevedores, Inc., 199 F.3d at

229. Accordingly, Bomin’s Verified Complaint is dismissed.

      New Orleans, Louisiana, this 26th day of April, 2019.




                                          ___________________________________
                                          SENIOR UNITED STATES DISTRICT JUDGE




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